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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF WISCONSIN



SEAN AND TAMINA BURKE                               Case No.: 2:20-cv-01531-LA

               Plaintiffs,
                                                    PLAINTIFFS’ NOTICE OF VOLUNTARY
       vs.                                          DISMISSAL OF DEFENDANT
EXPERIAN INFORMATION SOLUTIONS,                     EXPERIAN INFORMATION
INC., et. al.                                       SOLUTIONS, INC. PURSUANT TO
                                                    FEDERAL RULE OF CIVIL
               Defendants                           PROCEDURE 41(A)(1)




PLEASE TAKE NOTICE that Plaintiffs Sean and Tamina Burke, pursuant to Federal Rule of

Civil Procedure 41(a)(1), hereby voluntarily dismiss Experian Information Solutions, Inc. as to all

claims in this action, with prejudice.

       Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

       41(a) Voluntary Dismissal

       (1) By the Plaintiff

               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any

                   applicable federal statute, the plaintiff may dismiss an action without a court

                   order by filing:

                       (1) a notice of dismissal before the opposing party serves either an answer

                             or a motion for summary judgment.

       Defendant Experian Information Solutions, Inc. has neither answered Plaintiffs’

                                        1
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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
Complaint, nor filed a motion for summary judgment. Accordingly, the matter may be dismissed

against it for all purposes and without an Order of the Court.



Dated: January 21, 2021                       Gale, Angelo, Johnson, & Pruett, P.C.

                                           By:          /s/ Elliot Gale
                                                       Elliot Gale
                                           Attorneys for Plaintiffs
                                           Sean and Tamina Burke




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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
